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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Shari Ahrendsen, Barry Clement, and Lisa Bush, on behalf of : Civil Action
the World Travel, Inc. Employee Stock Ownership Plan, and
on behalf of a class of all other persons similarly situated,

Vv. Plaintiffs,

Prudent Fiduciary Services, LLC, a California Limited Liability
Company, Miguel Paredes, James A. Wells, James R. Wells, 1 No.: 2:21-CV-02157-HB
and Richard G Wells . ™

 

 

Defendants.
ORDER
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AND NOW, this 3c day of August ppZimben/ 20 21, it is hereby
ORDERED that the application of Michelle C. Yau , Esquire,

to.practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) is

 

“1 GRANTED.!

 

 

DENIED.

 

 

 

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1 This Court's Local Civil Rules require attorneys, including those admitted pro hac vice, to complete the registration
process for the Court's ECF system. Instructions and forms are available on the Court website.
